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 [SEALED]
                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION


  UNITED STATES OF AMERICA,
                                                              SA-2 1 -CR-OO 1 83-FB
         Plaintiff,

                                                             SUPERSEDING INDICTMENT
  TIMOTHY NUNCIO (1),
  RICHARD CHRISTIAN 11105(2),                                COUNT 1: 21 U.S.C.     § 846, 841(a)(1) &
                                                             841(b)(1)(A); Conspiracy to Possess with
 DUSTIN TANNER GASTON (4),                                   Intent to Distribute Methamphetamine
 BRANDIE NICOLE SALINAS (5),
                                                             COUNTS 2-4: 21 U.S.C. § 841(a)(1)
                                                             & (b)(1)(A), & 18 U.S.C. § 2; Possession
         Defendants.                                         with Intent to Distribute Methamphetamine &
                                                             Aiding and Abetting


THE GRAND JURY CHARGES:

                                       COUNT ONE
                         [21 U.S.C. § 846, 841(a)(1) & 841(b)(1)(A)]

       That beginning on or about December 14, 2020, the exact date unknown, and continuing

until April 7, 2021, in the Western District of Texas, Defendants,

                                 TIMOTHY NUNCIO (1),
                              RICHARD CHRISTIAN 11105(2),

                               DUSTIN TANNER GASTON (4),
                              BRANDIE NICOLE SALINAS (5),


knowingly, intentionally, and unlawfully conspired, combined, confederated, and agreed together,

and with each other, and with others, to commit the following offenses against the United States:
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 to distribute a controlled substance, which offense involved 500 grams or more     of a mixture or
 substance containing a detectable amount of methamphetamine, its salts, isomers, or salts of

 isomers, a Schedule II Controlled Substance, in violation of Title 21, United States Code, Sections

 841(a)(1) & 841(b)(1)(A), and 846.

                                         COUNT TWO
                       [21 U.S.C. §   841(a)(1)/(b)(1)(A) & 18 U.S.C. § 2]

        That on or about January 5, 2021, in the Western District of Texas, Defendants,

                                 TIMOTHY NUNCIO (1),
                              RICHARD CHRISTIAN RIOS (2),
                                                     ),
 aided and abetted by each other, and others, did knowingly, intentionally, and unlawfully possess

with intent to distribute a controlled substance, which offense involved 500 grams or more of a

mixture or substance containing a detectable amount of methamphetamine, its salts, isomers, or

salts of its isomers, a Schedule II Controlled Substance, in violation of Title 21, United States

Code, Sections 841(a)(l)/(b)(1)(A), and Title 18, United States Code, Section 2.

                                        COUNT THREE
                      [21 U.S.C. § 841(a)(1)/(b)(1)(A) & 18 U.S.C. § 2J

       That on or about March 31, 2021, in the Western District of Texas, Defendant,

                              RICHARD CHRISTIAN RIOS (2),
aided and abetted by others, did knowingly, intentionally, and unlawfully possess with intent to

distribute a controlled substance, which offense involved 500 grams or more of a mixture or

substance containing a detectable amount of methamphetamine, its salts, isomers, or salts of its

isomers, a Schedule II Controlled Substance, in violation of Title 21, United States Code, Sections

841(a)(1)/(b)(1)(A), and Title 18, United States Code, Section 2.

                                      COUNT FOUR
                      [21 U.S.C. § 841(a)(1)/(b)(1)(A) & 18 U.S.C. § 2J



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        That on or about April 7, 2021, in the Western District of Texas, Defendants,

                                    TIMOTHY NUNCIO (1)


 aided and abetted by each other, and others, did knowingly, intentionally, and unlawfully possess

 with intent to distribute a controlled substance, which offense involved 500 grams or more of a

 mixture or substance containing a detectable amount of methamphetamine, its salts, isomers, or

 salts of its isomers, a Schedule II Controlled Substance, in violation of Title 21, United States

 Code, Sections 841(a)(1)/(b)(1)(A), and Title 18, United States Code, Section 2.



                                             A TRUE BILL



                                             FOREPERSON OF THE GRAND JURY


       ASHLEY C. HOFF
       UNITED STATES ATTORNEY


BY:
       FOR WILLIAM CALVE
       Assistant United States Attorney




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